
PER CURIAM.
Upon further consideration of this cause, the Court fails to find from an examination of the written record of the proceedings of the trial court conflict of decisions within the purview of Article V of the Florida Constitution, F.S.A. sufficient to vest in this Court jurisdiction in this cause. It is thereupon, for the reasons stated above,
Ordered that the writ of certiorari heretofore issued in this cause be and the same is hereby discharged.
It is so ordered.
THORNAL, C. J., and THOMAS, DREW, O’CONNELL and CALDWELL, JJ., concur.
ERVIN, J., dissents with Opinion.
ROBERTS, J., dissents and concurs with ERVIN, J.
